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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

JERALD DAVIS,                                                                           Plaintiff,

v.                                                            Civil Action No. 3:14-cv-777-DJH

GLA COLLECTION COMPANY, INC. et al,                                                 Defendants.

                                            * * * * *

                                             ORDER

           Plaintiff Jerald Davis and Defendant Equifax Information Services, LLC having filed a

Joint Stipulation of Dismissal (Docket No. 28), and the Court being otherwise sufficiently

advised, it is hereby

           ORDERED that Plaintiff’s claims against Defendant Equifax Information Services, LLC

are DISMISSED with prejudice. This dismissal shall not affect Plaintiff’s claims against any

other defendant.
April 27, 2015




                                                            David J. Hale, Judge
                                                         United States District Court




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